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                       UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION




 UNITED STATES OF AMERICA,             )             CASE NO. 06-95
                                       )
           Plaintiff,                  )
                                       )
                                       )
           - vs -                      )
                                       )                  ORDER
 Miguel Johnson                        )
                                       )
           Defendant.                  )



    The Court has for consideration the Government’s Motion to Continue Trial filed on

 September 21, 2006 and the Defendant’s response filed on September 22, 2006.

    The Government has moved to continue the Defendant’s trial for at least twenty-one

 days pursuant to Title 18 Section 3161(h)(8) of the United States Code and the Defendant

 has not objected, although reserving his right to challenge the filing of the Supplemental

 Indictment.

    The Court finds that the Government has provided the following facts in support:

 1. On May 24, 2006, the United States and the defendant jointly moved the Court to

 continue defendant Miguel Johnson’s trial to a date subsequent to the sentencing of co-

 defendant Carly Grubbs. The request was made because Grubbs decided to plead guilty

 and her statement regarding the facts underlying the crimes charged significantly affected

 the government’s position regarding the prosecution of Johnson. The government could

 only fully assess the veracity of Grubbs’ version of events after Grubbs had both pleaded

 guilty and had been sentenced without retracting her admissions. At that point, the

 government would be in a position to determine an appropriate resolution to defendant

 Johnson’s case.
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 2.On May 26, 2006, the Court granted the joint motion followed by a written order entered

 on June 13, 2006. The Court found that granting the requested continuance would serve

 the ends of justice and that the reasons for doing so outweighed the best interests of the

 public and the defendant in a speedy trial pursuant to 18 U.S.C § 3161. The Court

 subsequently set defendant Grubbs’ sentencing hearing for August 28, 2006 and set

 defendant’s Johnson’s trial date for August 29, 2006.

 3. On August 22, 2006 defendant Johnson was arrested after he tested positive for use

 of cocaine. Based on this and other events, the United States informed counsel for

 Johnson that it was contemplating the filing of additional charges against him and

 requested a response before determining how to proceed.

 4. On August 28, 2006, due to a trial conflict, the Court rescheduled Grubbs’ sentencing

 hearing for September 8, 2006. As a result, on August 28, 2006, the United States filed

 a motion requesting once again that the trial of Miguel Johnson be rescheduled to a date

 after Grubbs’ sentencing. The Court granted the motion the same day and rescheduled

 Miguel Johnson’s trial for September 26, 2006.

 5. On September 20, 2006, the Grand Jury for the Northern District of Ohio, Eastern

 Division, returned a Supplemental Indictment against Miguel Johnson. The Supplemental

 Indictment added a new charge for Possession of cocaine to the charges already pending

 against Johnson in this case.

 6. Miguel Johnson has not yet been arraigned on the new charge pending against him.



    The Court finds that the trial date of September 26, 2006 is less than one week after
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 the Grand Jury returned the Supplemental Indictment against the defendant. Unless the

 trial date is continued the parties will have virtually no time to discuss a resolution or

 prepare for trial. A short continuance would not unnecessarily delay the disposition of this

 case because each side would be given sufficient opportunity to review the evidence and

 consider all factors before a final decision is made.

    Therefore, the Court finds that the ends of justice served by granting the continuance

 outweigh the best interests of the public and the defendant in a speedy trial.

           IT IS SO ORDERED.

                                               S/Christopher A. Boyko

                                               __________________________________
 September 25, 2006                            HONORABLE CHRISTOPHER A. BOYKO
                                               UNITED STATES DISTRICT JUDGE




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